86 F.3d 1148
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gary Jay BEATTIE, Petitioner--Appellant,v.Charles E. THOMPSON, Warden, at S.C.C., Respondent--Appellee.
    No. 95-6697.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 23, 1996.Decided:  May 29, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   James C. Cacheris, Chief District Judge.  (CA-95-41-AM)
      Gary Jay Beattie, Appellant Pro Se.
      Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before WILKINSON, Chief Judge, WILKINS, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Beattie v. Thompson, No. CA-95-41-AM (E.D.Va. Apr. 19, 1995).   Because the case presents no exceptional circumstances, we deny Appellant's motions for appointment of counsel.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    